         Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 1 of 19




      Francis O. Scarpulla (41059)                   Theresa D. Moore (99978)
1     Patrick B. Clayton (240191)                    Law Offices of Theresa D. Moore
      Law Offices of Francis O. Scarpulla            One Sansome Street, 35th Floor
2     456 Montgomery Street, 17th Floor              San Francisco, CA 94104
      San Francisco, CA 94104                        Telephone: (415) 613-1414
3     Telephone: (415) 788-7210                      tmoore@aliotolaw.com
      Facsimile: (415) 788-0706
4     Email: fos@scarpullalaw.com                    Counsel for Objectors Rockhurst University,
              pbc@scarpullalaw.com                   Harry Garavanian, and Gary Talewsky
5
      Co-Counsel for Objector Dan L. Williams &
6     Co.
7
      Robert Bonsignore appearing pro hac vice\      [ADDITIONAL COUNSEL LISTED ON
8     Lisa Sleboda pro hac vice                      SIGNATURE PAGE]
      Bonsignore Trial Lawyers, PLLC
9     23 Forest Street
      Medford, MA 02155
10    Office Phone: (781) 350-0000
      Cell Phone: (781) 856-7650
11    Facsimile: (702) 852-5726
      Email: rbonsignore@classactions.us
12
      Counsel for Appellants Gianasca, Comeaux,
13    Ashkannejhad, Speaect, Ciccone, and Craig
14

15                               UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                    SAN FRANCISCO DIVISION
18

19   IN RE: CATHODE RAY TUBE (CRT)                Master File No. 3:07-cv-5944-JST
     ANTITRUST LITIGATION
20                                                MDL No. 1917
21                                                NOTICE OF MOTION, MOTION, AND
     This Document Relates to:                    MEMORANDUM IN SUPPORT OF MOTION
22                                                TO VACATE OR CLARIFY 2010
     All Indirect-Purchaser Actions               STIPULATION AND ORDER (DKT. 799)
23
                                                  Hearing Date: June 6, 2019
24                                                Time:         2:00 p.m.
                                                  Courtroom:    9, 19th Floor
25                                                Judge:        Hon. Jon S. Tigar
26

27
         NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                          CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                 Case No. 3:07-cv-5944, MDL No. 1917
         Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 2 of 19




1                                NOTICE OF MOTION AND MOTION

2    TO ALL PARTIES AND THEIR ATTORNEYS:

3           PLEASE TAKE NOTICE that on June 6, 2019, at 2:00 p.m., before the Honorable Judge

4    Jon S. Tigar, United States District Court for the Northern District of California, 450 Golden Gate
     Ave., Courtroom 9, 19th Floor, San Francisco, California, counsel for Class Plaintiffs Rockhurst
5
     University, Gary Talewsky, and Harry Garavanian, Class Plaintiff Dan L. Williams & Co., and Class
6
     Plaintiffs Gianasca, Comeaux, Ashkannejhad, Ciccone, and Craig (collectively, the “ORS
7
     Plaintiffs”), by and through undersigned counsel (collectively, “Proposed ORS Class Counsel”), will
8
     and hereby do move, pursuant to Federal Rule of Civil Procedure 54(b) and this Court’s inherent
9
     authority, for an Order vacating or clarifying the Stipulation and Order Modifying and Adopting
10
     Special Master’s Report, Recommendations and Tentative Rulings Regarding Defendants’ Joint
11
     Motion to Dismiss the Second Amended Complaint of the Indirect Purchaser Plaintiffs (Dkt. 799)
12
     (the “Stipulation” or “2010 Stipulation”).
13
            The motion is based on this notice, the accompanying memorandum of points and authorities
14   in support of the motion, all other pleadings and papers filed in this action, and such additional
15   evidence or argument that may be presented at the hearing.
16

17

18

19

20

21

22

23

24

25

26

27
                                                     ii
         NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                          CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                 Case No. 3:07-cv-5944, MDL No. 1917
           Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 3 of 19




                                                          TABLE OF CONTENTS
1                                                                                                                                                Page
2
     INTRODUCTION............................................................................................................................ 1
3
     PROCEDURAL HISTORY ............................................................................................................ 3
4
     I. Procedural History Leading to the 2010 Stipulation.................................................................... 3
5
     II. The 2010 Stipulation Entered Before Class Certification............................................................ 3
6
     III. Proceedings after the 2010 Stipulation. ....................................................................................... 4
7
     ARGUMENT .................................................................................................................................... 5
8
     I. The 2010 Stipulation—Entered Before Any Class Certification Ruling—Should Be Vacated. . 5
9

10             A.     The Stipulation is voidable or, at a minimum, unenforceable and therefore should be
                      vacated. .......................................................................................................................... 6
11
               B.     The Stipulation should be vacated to eliminate prejudice to the ORS class members
12                    arising from inadequate representation. ....................................................................... 10
13
     II. This Court Should Clarify that the 2010 Stipulation Does Not Bar Assertion of ORS State
14
     Claims or the Addition of Named Plaintiffs in the MDL. ............................................................... 11
15
     CONCLUSION .............................................................................................................................. 12
16

17

18

19

20

21

22

23

24

25

26

27
                                                                              i
          NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                           CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                  Case No. 3:07-cv-5944, MDL No. 1917
           Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 4 of 19




                                                        TABLE OF AUTHORITIES
1
     American Pipe & Construction Co. v. Utah,
2    414 U.S. 538 (1974) .........................................................................................................................9

3    Brown v. Ticor Title Ins. Co.,
     982 F.2d 386 (9th Cir. 1992) .........................................................................................................10
4

5    City of Los Angeles v. Santa Monica Baykeeper,
     254 F.3d 882 (9th Cir. 2001) ...........................................................................................................5
6
     Dahl v. Bain Capital Partners, LLC,
7    760 F. Supp. 2d 196 (D. Mass. 2011) ..........................................................................................8, 9
8    Hanlon v. Chrysler Corp.,
9    150 F.3d 1011 (9th Cir. 1998) .......................................................................................................10

10   Her v. Regions Fin. Corp.,
     2:07-CV-2017-RTD, 2007 WL 2806558 (W.D. Ark. Sept. 25, 2007) ..........................................10
11
     Immigrant Assistance Project of Los Angeles County Fed'n of Labor (AFL-CIO) v. I.N.S.,
12   306 F.3d 842 (9th Cir. 2002) .......................................................................................................7, 9
13
     In re Community Bank of N. Va.,
14   418 F.3d 277 (3d Cir. 2005)...........................................................................................................10

15   In re Mego Fin. Corp. Sec. Litig.,
     213 F.3d 454 (9th Cir. 2000) .........................................................................................................10
16

17   In re S. African Apartheid Litig.,
      617 F. Supp. 2d 228 (S.D.N.Y. 2009).............................................................................................9
18
     Oreo Corp. v. Winnerman,
19   642 F. App’x 751 (9th Cir. 2016) ....................................................................................................7
20
     Palmer v. Stassinos,
21   236 F.R.D. 460 (N.D. Cal. 2006) .....................................................................................................9

22   Pearl v. Allied Corp.,
     102 F.R.D. 921 (E.D. Pa. 1984) .....................................................................................................10
23
     Phillips v. Ford Motor Co.,
24
     435 F.3d 785 (7th Cir. 2006) ...........................................................................................................8
25
     Rosenbaum v. Syntex Corp.,
26   95 F.3d 922 (9th Cir. 1996) .............................................................................................................7
27
                                                                            ii
           NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                            CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                   Case No. 3:07-cv-5944, MDL No. 1917
           Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 5 of 19




     Smith v. Levine Leichtman Capital Partners, Inc.,
1
     C 10-00010 JSW, 2011 WL 13153123 (N.D. Cal. Mar. 9, 2011) ...................................................5
2
     Standard Fire Ins. Co. v. Knowles,
3    568 U.S. 588 (2013) .....................................................................................................................2, 6
4    Wright v. Am. Bankers Life Assur. Co. of Florida,
5    586 F. Supp. 2d 464 (D.S.C. 2008)..................................................................................................8

6

7

8
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                                                           iii
           NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                            CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                   Case No. 3:07-cv-5944, MDL No. 1917
              Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 6 of 19




                           MEMORANDUM OF POINTS AND AUTHORITIES
 1

 2                                           INTRODUCTION

 3           From its inception, this case has continually asserted federal antitrust claims based on a

 4   uniform and industry-wide price-fixing conspiracy and sought declaratory and injunctive relief

 5   on behalf of persons in all 50 states. The same conduct, transactions, and occurrences relied upon

 6   in support of those federal claims support state law damages claims in 31 so-called “Repealer

 7   States.” 1

 8           On October 25, 2010—before any ruling on class certification—IPP Interim Lead
 9   Counsel and Defendants entered into a stipulation that became a court order (the “2010
10   Stipulation” or “Stipulation”). 2 More specifically, IPP Lead Class Counsel agreed to proposed
11   settlements with the Defendants, seeking to resolve and release all pending and potential state

12   and federal claims. Class members in 22 of the repealer states were to share in a $576 million

13   recovery; class members in the 9 other repealer states were omitted and were to receive nothing

14   for the release of their state law damages claims. The absence of constitutionally guaranteed

15   adequate representation of omitted repealer states’ (ORS) class members was central to the Ninth

16   Circuit appeal that resulted in the recent remand to this Court. This motion seeks to address one

17   aspect of that deficient representation—a pre-settlement stipulation that purports to extinguish

18   state law claims of the ORS class members.

19           The Stipulation is unenforceable as a matter of law. A ruling from this Court is necessary

20   because, despite its fatal defects, the Stipulation continues to serve as a roadblock the efficient

21   and orderly progression of this litigation and to alternative dispute resolution efforts. Putative

22

23
     1
24     States that permit indirect purchasers to recover damages for antitrust related violations of state
     law.
25   2
      See Stipulation and Order Modifying and Adopting Special Master’s Report, Recommendations
26   and Tentative Rulings Regarding Defendants’ Joint Motion to Dismiss the Second Consolidated
     Amended Complaint of the Indirect Purchase Plaintiffs, Doc. No. 796.
27
                                                       1
         NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                          CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                 Case No. 3:07-cv-5944, MDL No. 1917
               Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 7 of 19




     ORS Counsel seek an order vacating the Stipulation and placing the ORS putative class members
 1
     into the position they were in before it was entered.
 2
              Until a class is certified, absent class members cannot be legally bound by decisions of
 3
     putative class counsel or named plaintiffs. Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 593
 4
     (2013). There was no certified class when the Stipulation was entered. IPP Interim Lead Counsel
 5
     only had the authority to bind the named class representatives. Thus, he had no power to waive
 6
     any rights of the ORS putative class members. Beyond being voidable to the extent it purports to
 7
     bind the ORS class members, the Stipulation also did not address the addition of new claims or
 8
     named plaintiffs in any pleading other than the Third Consolidated Amended Complaint. At the
 9
     April 8, 2019 case management conference, IPP Lead Counsel Mario Alioto recently stated that
10
     the 2010 Stipulation has no effect at all on the viability of the ORS claims. Transcript of
11
     Proceedings at 21-24 (Apr. 9, 2019).
12
              Should this Court construe the Stipulation’s terms to bar the ORS class members from
13
     amending the complaint to allege state law claims arising out of the same conduct, transaction,
14
     and occurrences set out (or attempted to be set out) in support of the still-pending federal claims,
15
     the Court should vacate the Stipulation because it was entered without legal authority and is,
16
     thus, voidable. The Stipulation independently merits vacation as an impermissible violation of
17
     the due process rights of persons in the ORS to adequate representation.
18
              After Proposed ORS Class Counsel filed settlement objections in 2015, IPP Interim Lead
19
     Counsel argued the statute of limitations had run for the state law damages claims of ORS class
20
     members and that the claims were, therefore, valueless. 3 But the state law damages claims of
21
     ORS class members—who have always been members of the nationwide class in this case and
22
     represented by Mr. Alioto—are not barred by the statute of limitations for several reasons,
23
     including this one: The state law damages claims Proposed ORS Class Counsel intend to allege
24

25

26   3
         See Appellee Brief, 9th Cir. Case No. 16-16368, Dkt. 93 at 74-86.
27
                                                       2
          NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                           CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                  Case No. 3:07-cv-5944, MDL No. 1917
              Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 8 of 19




     arise out of the same conduct, transaction, and occurrences set out in support of the originally-
 1
     filed-and-still-pending federal claims alleged on behalf of class members in all 50 states; the
 2
     state law claims for the ORS would therefore relate back to the earlier-pleaded federal claims.
 3
              Proposed ORS Counsel accordingly request an order vacating the Stipulation and placing
 4
     the ORS class members into the position they were in before IPP Interim Lead Counsel agreed to
 5
     the 2010 Stipulation. 4 Alternatively, if the Court declines to vacate the Stipulation, it should
 6
     clarify that the Stipulation’s reach is limited to the Third Consolidated Amended Complaint.
 7
                                         PROCEDURAL HISTORY
 8
              This litigation arises from an alleged international conspiracy to fix the price of cathode
 9
     ray tube products (“CRTs”), from March 1, 1995 through November 25, 2007. ER1331. On
10
     May 9, 2008, the Court appointed Mario Alioto and Trump, Alioto, Trump & Prescott as Interim
11
     Lead Counsel for a putative nationwide class of indirect purchasers of CRTs. Dkt. 282.
12
     I.       Procedural History Leading to the 2010 Stipulation
13
              On March 16, 2009, Interim Lead Counsel filed the first Consolidated Amended
14
     Complaint (the “CAC”). Dkt. 437. That complaint—and the operative complaint today—alleged
15
     federal antitrust claims for injunctive relief arising out of the defendants’ price-fixing conspiracy
16
     for persons in all 50 states. In repealer states, any potential state law damages arise out of the
17
     same conduct, transaction, or occurrences that provide the underlying factual basis for the causes
18
     of action that are set out (or attempted to be set out) in the federal claims.
19
     II.      The 2010 Stipulation Entered Before Class Certification.
20
              Rather than object to the special master’s Report’s recommending dismissal of the
21
     Massachusetts, Arkansas and Montana state law claims with prejudice, IPP Interim Lead
22
     Counsel entered into the 2010 Stipulation (before class certification) agreeing to this Court’s
23

24

25   4
      Three of the ORS were the subject of the Ninth Circuit appeal (Massachusetts, New Hampshire
     and Missouri). The six additional ORS that were omitted from an economic recovery are
26   Arkansas, Montana, Oregon, Rhode Island, South Carolina, and Utah.

27
                                                        3
           NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                            CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                   Case No. 3:07-cv-5944, MDL No. 1917
             Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 9 of 19




     adoption of that Report. Dkt. 799. Interim Lead Counsel also agreed in the Stipulation not to add
 1
     any new state claims or new plaintiffs in his anticipated third consolidated amended complaint
 2
     (the “Third CAC”). He did this without notice to any members of the putative class whose rights
 3
     he was charged with zealously representing. On October 25, 2010, the Court approved and
 4
     entered the Stipulation order. Id. 5
 5
             On December 11, 2010, Interim Lead Counsel filed the Third CAC. Dkt. 827. State law
 6
     damages claims for the ORS did not appear in subsequent complaints.
 7
     III.    Proceedings after the 2010 Stipulation.
 8
             Interim Lead Counsel eventually reached settlement agreements disposing of all pending
 9
     and potential state and federal claims for all IPPs nationwide. Dkt. 3876-1; 3862-1 through 3862-
10
     5. The Settlements provided that IPPs in the 22 included repealer states, which had been certified
11
     after the Stipulation (Dkt. 1950), would share in a $576,750,000 damages recovery. During the
12
     preliminary approval proceedings, Lead Class Counsel did not inform the Court that he had
13
     excluded nine repealer states from the damages recovery. See, e.g., Dkt. 3875. Throughout the
14
     final approval proceedings and the subsequent appeal, Lead Class Counsel argued against the
15
     inclusion of the ORS claims in the recovery, advocating the release of their damages claims
16
     through the Nationwide Class. Dkt. 4370 at 36.
17
             On July 7, 2016, the district court issued an order certifying a settlement class, granting
18
     Final Approval and approving the allocation of all the MDL Settlements. Dkt. 4712. The ORS
19
     Plaintiffs appealed to the Ninth Circuit, which eventually remanded the case to this Court for
20
     reconsideration of its approval of the settlement. One of the many issues on appeal was the
21
     Stipulation. Since the court of appeals has remanded the case for reevaluation of the settlement
22
     without an opinion or order, the appellate issues regarding the Stipulation remain viable.
23

24   5
       Interestingly, Interim Lead Counsel did protect the state law damages claims of class members
25   in Maine and Illinois (apparently trading those states for all nine ORS) by negotiating a provision
     that allowed the addition of new representatives for their claims, once he identified those
26   representatives.

27
                                                       4
         NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                          CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                 Case No. 3:07-cv-5944, MDL No. 1917
             Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 10 of 19




                                                 ARGUMENT
 1
     I.      The 2010 Stipulation—Entered Before Any Class Certification Ruling—Should Be
 2           Vacated.
 3           “The general rule regarding the power of a district court to rescind an interlocutory order

 4   is as follows: As long as a district court has jurisdiction over the case, then it possesses the

 5   inherent procedural power to reconsider, rescind, or modify an interlocutory order for cause seen

 6   by it to be sufficient.” City of Los Angeles v. Santa Monica Baykeeper, 254 F.3d 882, 885 (9th

 7   Cir. 2001) (internal quotation omitted). This power “may be exercised by the court either of its

 8   own motion or on motion or suggestion by a party or interested person.” Id. at 887 (internal
 9   quotation omitted). Similarly, Federal Rule of Civil Procedure 54(b) provides that “any order . . .
10   may be revised at any time before entry of a judgment adjudicating all of the claims and all the
11   parties’ rights and liabilities.” Fed. R. Civ. P. 54(b).
12           Due to Lead Counsel’s court-acknowledged conflict with the ORS class members he

13   represented in the national class action, the Court not only has the authority to vacate the

14   Stipulation, but the duty to do so. See Smith v. Levine Leichtman Capital Partners, Inc., C 10-

15   00010 JSW, 2011 WL 13153123, at *3 (N.D. Cal. Mar. 9, 2011) (“Plaintiffs' counsel based on

16   alleged conflict of interest triggers the Court's inherent duty to maintain the standards of

17   professional conduct, to ensure the fair administration of justice, and to assure that the interests

18   of the unnamed class members are adequately protected pursuant to Rule 23(a).”).

19           To the extent the Stipulation purports to bind the absent class members of the ORS,

20   including any additional or replacement class representatives, the Stipulation is voidable as it

21   was beyond then-Interim Lead Counsel’s power to enter such an agreement. No class had been

22   certified when Interim Lead Counsel entered the stipulation; thus, under Supreme Court

23   precedent discussed below, he could bind only those individual plaintiffs he directly represented

24   at the time.

25           The Stipulation should, accordingly, be vacated to the extent it can be read to bind

26   anyone aside from those individual plaintiffs. Vacatur is also necessary to avoid any prejudice to

27
                                                         5
          NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                           CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                  Case No. 3:07-cv-5944, MDL No. 1917
            Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 11 of 19




     ORS class members whose interests were not adequately represented before and after Interim
 1
     Lead Counsel’s decision to enter into the Stipulation. Alternatively, if the Court were not to
 2
     vacate the Stipulation, it should clarify the Stipulation is binding only as to the Third Amended
 3
     Complaint. We will address each ground in turn.
 4
            A.         The Stipulation is voidable or, at a minimum, unenforceable and therefore
 5                     should be vacated.
 6               i.     The Stipulation Does Not (and Cannot) Bind the ORS Class Members Since
                        No Class Had Been Certified When Lead Counsel Acted
 7
            To the extent it purports to bind anyone other than the named plaintiffs that Interim Lead
 8
     Counsel directly represented when he entered the Stipulation, the Stipulation is voidable.
 9
            Directly on point Supreme Court precedent provides that putative class counsel does not
10
     have the power to bind any member of a putative class by stipulation except for those individuals
11
     that the counsel directly represents at that time. Prior to class certification, absent class members
12
     simply cannot be legally bound by decisions of putative class counsel or named plaintiffs. See
13
     Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 593 (2013) (“[A] plaintiff who files a class
14
     action cannot legally bind members of the proposed class before the class is certified.”). So, to
15
     the extent the pre-certification Stipulation and Order purports to bind any of the putative ORS
16
     class members as to their right to assert state law damages claims, the Stipulation is voidable
17
     except as to those individual persons named in the complaint that Interim Lead Counsel directly
18
     represented at the time he entered the Stipulation.
19

20               ii.    Why Vacating the Stipulation Matters: The ORS Class Members Possess
                        Viable Claims that May be Asserted Under the Relation Back Doctrine, and
21                      the Stipulation Does Not Bar them from Amending the Complaint to Assert
                        those Claims (as Defendants May Argue)
22
            If appointed to represent the putative ORS class members, Proposed ORS Class Counsel
23
     will move to amend the operative complaint to add plaintiffs and plead state law damages claims
24
     on behalf of those class members. Such amendment (including the addition of new class
25

26

27
                                                       6
        NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                         CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                Case No. 3:07-cv-5944, MDL No. 1917
            Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 12 of 19




     representatives) would be allowed under the relation back doctrine, even though those individual
 1
     plaintiffs’ claims might otherwise be barred on statute of limitations grounds.
 2
            Although IPP Lead Class Counsel at the case management conference in April asserted
 3
     that “the stipulation did not bar the filing of claims,” and that “[t]he defendants don’t understand
 4
     it that way,” IPP Lead Class Counsel stated that he nevertheless remained “reluctan[t] about
 5
     vacating it.” The Defendants did not explicitly state their position regarding the Stipulation’s
 6
     application, but they indicated an intent to oppose this motion—leaving open the possibility that
 7
     they may try to use the Stipulation as a bar to amending the complaint on behalf of the ORS class
 8
     members. See Transcript of Proceedings at 21-24 (Apr. 9, 2019).
 9
            Though the relation back issues are not currently before the Court, in order for the Court
10
     to fully understand how the ORS class members’ claims will proceed (and, thus, the importance
11
     of vacating the Stipulation at this juncture), we will provide a brief overview of the relation back
12
     doctrine and how it would apply to this case:
13
            Federal Rule of Civil Procedure 15(c)(1) governs when an amendment to a complaint
14
     (including the naming of an additional plaintiff) relates back to the date of the original complaint.
15
     Rule 15(c)(1)(B) allows relation back of an amendment asserting a claim or defense where “the
16
     claim or defense arose out of the conduct, transaction, or occurrence set out—or attempted to be
17
     set out—in the original pleading.” The Ninth Circuit has further refined the analysis, as it applies
18
     to the addition of a plaintiff:
19           An amendment adding a party plaintiff relates back to the date of the original
             pleading only when: 1) the original complaint gave the defendant adequate notice
20
             of the claims of the newly proposed plaintiff; 2) the relation back does not unfairly
21           prejudice the defendant; and 3) there is an identity of interests between the original
             and newly proposed plaintiff.
22
     Immigrant Assistance Project of Los Angeles County Fed'n of Labor (AFL-CIO) v. I.N.S., 306 F.3d
23
     842, 857 (9th Cir. 2002) (quoting Rosenbaum v. Syntex Corp., 95 F.3d 922, 935 (9th Cir. 1996);
24
     see also Oreo Corp. v. Winnerman, 642 F. App’x 751, 753 n.1 (9th Cir. 2016) (“If the limitations
25
     period derives from state law, Rule 15(c)(1)[(A)] requires [the court] to consider both federal and
26

27
                                                       7
        NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                         CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                Case No. 3:07-cv-5944, MDL No. 1917
            Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 13 of 19




     state law and employ whichever affords the more permissive relation back standard.” (brackets in
 1
     original; internal quotation and citation omitted)).
 2
            The application of the relation back doctrine applies in the class-action context and, as
 3
     explained by the Seventh Circuit, actually plays a particularly important role in ensuring that
 4
     unnamed class members’ rights are protected when an applicable statute of limitations has
 5
     expired:
 6
            Relation back to add named plaintiffs in a class action suit is of particular
 7          importance because of the interests of the unnamed members of the class. Suppose
 8          Mr. X files a class action and after the statute of limitations has run the defendant
            settles with X. If a named plaintiff cannot be substituted for X with relation back to
 9          the date of the filing of the original complaint, the class will be barred from relief.

10   Phillips v. Ford Motor Co., 435 F.3d 785, 788 (7th Cir. 2006).

11          To that end, whenever a court finds that a putative class representative is unable or is
12   otherwise inadequate to represent a putative class, replacement representatives who intervene
13
     enjoy full relation-back rights as to claims that arise out of the same conduct, transaction, or
14
     occurrences set out (or attempted to be set out) in the original complaint. See, e.g., Wright v. Am.
15
     Bankers Life Assur. Co. of Florida, 586 F. Supp. 2d 464, 474–75 (D.S.C. 2008) (“the elevation
16

17   or addition of a new class representative relates back to the original cause of action so long as the

18   new class representative's claims are based upon the same or substantially similar underlying

19   conduct of the defendant and defendant would not be prejudiced by the addition of the new class
20   representative.”); Dahl v. Bain Capital Partners, LLC, 760 F. Supp. 2d 196, 199 (D. Mass. 2011)
21
     (“The addition of Detroit and the PanAmSat damages sub-class did not constitute the addition of
22
     new plaintiffs, but rather acted to add claims of particular class members that were already
23
     parties to the suit. The claims of Detroit and the PanAmSat damages sub-class, therefore, need
24

25   only comply with Rule 15(c)(1)(B).”).

26

27
                                                       8
        NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                         CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                Case No. 3:07-cv-5944, MDL No. 1917
            Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 14 of 19




            Since the federal price-fixing and conspiracy claims asserted in the original pleading
 1
     remain pending as to all 50 states, and since the damages claims in the omitted repealer states
 2
     arise out of the same conduct, transaction, or occurrences set out in the original complaint (and
 3
     every complaint since then), the ORS plaintiffs who will represent the omitted repealer states
 4

 5   should have the right to amend and assert their damages claims. See Immigrant Assistance

 6   Project of Los Angeles County Fed'n of Labor (AFL-CIO), 306 F.3d at 857-58; Palmer v.

 7   Stassinos, 236 F.R.D. 460, 465 (N.D. Cal. 2006) (applying tolling rule to new plaintiffs who
 8   sought to intervene “by way of [existing plaintiffs] amending their complaint”); see also In re S.
 9
     African Apartheid Litig., 617 F. Supp. 2d 228, 292 (S.D.N.Y. 2009); Dahl v. Bain Capital
10
     Partners, L.L.C., 878 F. Supp. 2d 298, 299 (D. Mass. 2012) (relating back plaintiffs’ fifth
11
     amended complaint, containing an amended class definition, even though four of the five
12

13   transactions “were only briefly mentioned in the earlier-filed” complaint). For similar reasons,

14   the ORS class members’ claims have been tolled under American Pipe & Construction Co. v.

15   Utah, 414 U.S. 538 (1974), since the litigation began.
16
            This brings us to why it is important (for purposes of relation back principles) to vacate
17
     the voidable Stipulation. Federal Rule of Civil Procedure 15(c) speaks in terms of “amended”
18
     pleadings, suggesting that its relation back may not apply to “new” pleadings. Thus, if ORS
19
     Class Plaintiffs are forced to file a “new” complaint because the Stipulation is read to prohibit
20

21   amendments adding their claims through amendment, there is a greater risk that the relation back

22   doctrine may not defeat a motion to dismiss the claims as time-barred. It appears that Defendants
23   may use the Stipulation to argue that “amendment” is not allowed, thereby creating a situation
24
     where they will attempt to argue that the relation back doctrine does not apply. Given that the
25

26

27
                                                      9
        NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                         CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                Case No. 3:07-cv-5944, MDL No. 1917
            Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 15 of 19




     Stipulation is voidable as to the ORS class members, it should be vacated to alleviate that risk
 1
     and avoid further litigation in this vein in the future.
 2

 3           B.      The Stipulation should be vacated to eliminate prejudice to the ORS class
                     members arising from inadequate representation.
 4
             The Stipulation should be vacated as violative of the ORS class members’ constitutional
 5
     due process rights embodied in Rule 23(a)(4). If, as here, class members are not adequately
 6
     represented, or there was a denial of due process, then the vehicle giving rise to those violations
 7
     is invalid. Brown v. Ticor Title Ins. Co., 982 F.2d 386, 390 (9th Cir. 1992).
 8
             The Court’s appointment order specified that Interim Lead Counsel’s duties included to
 9
     “work in identifying and investigating potential claims”, so as “to best protect the interest of the
10
     putative class members.” Dkt. 282 at 2, 7. When the claims of the ORS class members were not
11
     prosecuted “vigorously” on their behalf, Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th
12
     Cir. 1998), those class members were not adequately represented. See In re Mego Fin. Corp. Sec.
13
     Litig., 213 F.3d 454, 462 (9th Cir. 2000); In re Community Bank of N. Va., 418 F.3d 277, 303-08
14
     (3d Cir. 2005) (class representatives provided inadequate representation by failing to assert
15
     colorable federal statutory claims of some class members); Smith v. Sprint Communications Co,
16
     L.P., 387 F.3d 612 (7th Cir. 2004) (reversing nationwide settlement class due to inadequate
17
     representation of plaintiffs pursuing other competing class actions whose claims were
18
     compromised by settlement); Pearl v. Allied Corp., 102 F.R.D. 921, 923 (E.D. Pa. 1984)
19
     (abandonment of uncertified claims raises adequacy of representation issues).
20
             Further, at a minimum, prior to class certification, lead counsel has a duty to protect the
21
     substantive legal rights of the putative class members from prejudice. See Her v. Regions Fin.
22
     Corp., 2:07-CV-2017-RTD, 2007 WL 2806558, at *2 (W.D. Ark. Sept. 25, 2007) (“class counsel
23
     owes a fiduciary duty to putative class members prior to class certification to protect the
24
     substantive legal rights of putative class members that form the basis of the class action suit from
25

26

27
                                                        10
        NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                         CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                Case No. 3:07-cv-5944, MDL No. 1917
              Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 16 of 19




     prejudice in an action against the class defendant resulting from the actions of class counsel”)
 1
     (citation omitted). Mr. Aliota failed to fulfill this duty.
 2
              The movant ORS Plaintiffs filed timely objections regarding the absence of adequate
 3
     representation of their claims, including the abandonment of ORS class members via the
 4
     Stipulation that had been tucked away in the multi-thousand-entry docket. Dkt. 4113 at 5-7. In
 5
     response, IPP Lead Class Counsel argued that “the statutes of limitations have now run,
 6
     rendering the claims valueless.” Thus, not only did Mr. Aliota fail to adequately represent the
 7
     ORS by advancing their claims, IPP Lead Class Counsel did not even protect their claims
 8
     because he entirely ignored the relation back doctrine at settlement. IPPs’ Reply Re: Final
 9
     Approval of Class Settlements at 12, filed with JAMS, Dec. 23, 2015; see Section I.A.ii
10
     (describing relevance of doctrine to ORS class members’ claims).
11
              The Stipulation—and IPP Class Counsel’s representation—is further deficient to the
12
     extent the Stipulation operated as a dismissal of the ORS class members’ claims without
13
     adequate notice. The Stipulation did not identify which states would not have state law damages
14
     claims pleaded; nor did it suggest that any repealer state had been omitted at all. Nor was it
15
     apparent from the face of the Stipulation that Massachusetts, Arkansas, and Montana claims had
16
     been dismissed, or that the Massachusetts claims could have been re-pleaded.
17
     II.      This Court Should Clarify that the 2010 Stipulation Does Not Bar Assertion of ORS
18            State Claims or the Addition of Named Plaintiffs in the MDL.
19            The 2010 Stipulation provides in relevant part as follows:

20              The only amendments allowed in the Third Consolidated Amended Complaint
                shall be: . . .
21

22               b. Amendments adding or dropping named plaintiffs with respect to claims
                    and states already at issue (i.e. no new claims or states);
23
     Dkt. 799 at 2.
24
              By its explicit terms, the Stipulation does not address amendment beyond the Third CAC.
25
     Thus, it cannot operate as a blanket prohibition upon the addition of new state law claims or
26

27
                                                       11
           NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                            CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                   Case No. 3:07-cv-5944, MDL No. 1917
             Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 17 of 19




     named plaintiffs through amendment of a complaint subsequent to the Third CAC. To further the
 1
     orderly progression of this case on remand, this Court should issue an order clarifying the limited
 2
     scope of the Stipulation if it declines to vacate the Stipulation.
 3
                                               CONCLUSION
 4
             The Court should to exercise its fiduciary duty to protect the absent class members in the
 5
     nine Omitted Repealer States and either vacate the order approving the Stipulation or clarify that
 6
     it does not bar the naming of new ORS class members who may amend the complaint to allege
 7
     state law damages claims, or grant such other and further relief as the Court may deem
 8
     appropriate and just.
 9

10   Dated: May 3, 2019                                     Respectfully submitted,

11    /s/   Robert J. Bonsignore                            /s/ Theresa D. Moore
            Robert J. Bonsignore                                Theresa D. Moore
12
      Robert J. Bonsignore
13    Bonsignore Trial Lawyers, PLLC
                                                         Theresa D. Moore (99978)
      3771 Meadowcrest Drive                             Law Offices Of Theresa D. Moore
14    Las Vegas, NV 89121                                One Sansome Street, 35th Floor
      Telephone: (781) 845-7650                          San Francisco, CA 94104
15    Facsimile: (702) 852-5626                          Telephone: (415) 613-1414
      rbonsignore@class-actions.us                       tmoore@aliotolaw.com
16
      Counsel for Class Plaintiffs Gianasca,
17                                                       Christopher A. Nedeau (81297)
      Comeaux, Ashkannejhad, Ciccone, and Craig          Nedeau Law Firm
18                                                       154 Baker Street
                                                         San Francisco, CA 94117
19                                                       Telephone: (415) 516-4010
       /s/ Francis. O. Scarpulla                         cnedeau@nedeaulaw.net
20         Francis O. Scarpulla
21                                                       Counsel for Class Plaintiffs Rockhurst
      Francis O. Scarpulla (41059)                       University, Harry Garavanian, and
22    Patrick B. Clayton (240191)                        Gary Talewsky
      Law Offices of Francis O. Scarpulla
23    456 Montgomery Street, 17th Floor
      San Francisco, CA 94104
24    Telephone: 415-788-7210
25    Facsimile: 415-788-0706
      fos@scarpullalaw.com
26    pbc@scarpullalaw.com

27
                                                       12
        NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                         CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                Case No. 3:07-cv-5944, MDL No. 1917
           Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 18 of 19




     John G. Crabtree, appearing pro hac vice
 1
     Brian Tackenberg, appearing pro hac vice
 2   Crabtree & Auslander
     240 Crandon Boulevard, Suite 101
 3   Key Biscayne, FL 33149
     Telephone: (305) 361-3770
 4   Facsimile: (305) 437-8188
 5   jcrabtree@crabtreelaw.com
     btackenberg@crabtreelaw.com
 6
     Brian M. Torres, appearing pro hac vice
 7   Brian M. Torres, P.A.
     One S.E. Third Avenue, Suite 3000
 8   Miami, FL 33131
 9   Telephone: (305) 901-5858
     Facsimile: (303) 901-5874
10   btorres@briantorres.legal

11   Counsel for Class Plaintiff
     Dan L. Williams & Co.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                                13
       NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                        CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                               Case No. 3:07-cv-5944, MDL No. 1917
            Case 4:07-cv-05944-JST Document 5469 Filed 05/03/19 Page 19 of 19




                                      CERTIFICATE OF SERVICE
 1
            I hereby certify that a true copy of the foregoing was filed via CM/ECF on May 3, 2019
 2
     and as a result has been served on all counsel of record via transmission of Notices of Electronic
 3
     Filing generated by CM/ECF.
 4

 5                                                /s/ Theresa D. Moore
                                                  Theresa D. Moore
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                                     14
        NOTICE OF MOTION, MOTION, AND MEMORANDUM IN SUPPORT OF MOTION TO VACATE OR
                         CLARIFY 2010 STIPULATION AND ORDER (DKT. 799)
                                Case No. 3:07-cv-5944, MDL No. 1917
